Case 20-02035-CMB            Doc 34      Filed 09/15/20 Entered 09/15/20 09:33:12           Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:
Nicki M. Todaro                                                    NO. 19-23010-CMB
                          Debtor/Plaintiff
                                                                   Chapter 13
         v.
                                                                   Adversary No. 20-02035-CMB
Wells Fargo Bank, N.A.
                    Defendant
                                                                   Related to Doc. No. 24


Wells Fargo Bank, N.A.
                    Third Party Plaintiff

         v.

PNC Bank, N.A.
                          Third Party Defendant


                                           ORDER OF COURT

         AND NOW, this ______        September
                        15th day of _____________, 2020, upon consideration of the Joint
Motion to Extend the Deadlines Set Forth in the Court’s Order of August 17, 2020 and to
Continue the Hearing Scheduled for October 7, 2020 filed herein, it is hereby
         Ordered that the Motion is granted, and the deadlines in the Court’s Order of August 17,
2020 are extended to October 9, 2020 for the parties to meet and confer, and to October 16, 2020 for
the parties to file their joint status report; and it is further
         Ordered that the hearing scheduled for October 7, 2020 at 11:30 a.m. is continued to the
 10th
__________         November
           day of _____________,          11:30 __.m.
                                 2020 at ______ a     via telephone. Parties should refer

 to Chief Judge Bohm’s Modified Telephonic Procedures effective March 16, 2020 (Updated
                                                          By the Court,
 September 3, 2020) on the Court's Website for information regarding appearing telephonically
 September.  3, on the Court’s Website for information regarding appearing telephonically with
 April 30, 2020)
 with CourtCall.
                                                           _______________________J.
 CourtCall.


              FILED                                     ________________________
              9/15/20 9:17 am                           Carlota M. Böhm
              CLERK                                     Chief United States Bankruptcy Court Judge
              U.S. BANKRUPTCY
              COURT - WDPA
